Case:17-03283-LTS Doc#:13678-4 Filed:07/15/20 Entered:07/15/20 18:46:21                   Desc:
                           Exhibit D Page 1 of 1



                                            EXHIBIT D
                     Summary of Jenner & Block LLP Blended Hourly Rates
                     (Customary and Comparable Compensation Disclosures)

                                                                           Blended Hourly
                                                                                Rate
           Timekeeper Category                     Worked and Billed
                                                                           Billed in this Fee
                                                   in 2019 (excluding
                                                                             Application
                                                  Restructuring lawyers)
 Partner                                                  $818                $1,049.96
                     Partner – Sr. (20+ years)            $858                $1,216.10
                     Partner – Mid (13-19
                     years)                          $804                      $972.92
                     Partner – Jr. (0-12 years)      $747                      $900.49
 Associate                                           $551                      $769.16
                Associate – Sr. (5+ years)           $634                      $859.26
                Associate – Sr. (4-5years)           $617                      $691.62
                Associate – Jr. (0-3 years)          $524                      $577.23
 Paralegal      N/A                                  $295                      $309.26
 Other          N/A                                  $391                      $583.70
             Blended Rate for all Attorneys in this Fee Application            $986.49
                 Blended Rate for all Attorneys with 15% discount              $838.51
          Blended Rate for All Timekeepers in this Fee Application             $847.47
              Blended Rate for all Timekeepers with 15% discount               $720.35



 Case Name:                In re Commonwealth of Puerto Rico, et al.
 Case Number:              17 BK 3283-LTS
 Applicant’s Name:         Jenner & Block LLP
 Date of Application:      July 15, 2020
 Interim or Final:         Interim
